              Case 2:25-mj-05021-DMF         Document 9      Filed 01/15/25    Page 1 of 3

                             UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA – FLAGSTAFF
                                      January 14, 2025
          United States of America
                     v.                                     Case Number: 25-5021MJ
           Liam Gavan Wallace

                            ORDER OF DETENTION PENDING TRIAL

In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I have
considered all the factors set forth in 18 U.S.C. § 3142(g). I conclude that the following facts are
established: (Check one or both, as applicable.)
☒ by clear and convincing evidence the defendant is a danger to the community and detention of the
   defendant is required pending trial in this case.
☒ by a preponderance of the evidence the defendant is a flight risk and detention of the defendant is
   required pending trial in this case.

                                   PART I – FINDINGS OF FACT

☒ (1) There is probable cause to believe that the defendant has committed
       ☐ a drug offense for which a maximum term of imprisonment of ten years or more is prescribed
         in 21 U.S.C. §§ 801 et seq., 951 et seq., or 46 U.S.C. App. § 1901 et seq.
       ☐ an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332(b).
       ☐ an offense listed in 18 U.S.C. § 2332b(g)(5)(B) (Federal crimes of terrorism) for which a
         maximum term of imprisonment of ten years or more is prescribed.
       ☒ an offense involving a minor victim prescribed in § 2423 (transportation of minors with intent
         to engage in criminal sexual activity).
       ☐ an offense for which a maximum term of imprisonment of 20 years or more is prescribed
         pursuant to 18 U.S.C. §§ 1581-1584, 1589-1591 (Slavery and Sex Trafficking).
☒ (2) The defendant has not rebutted the presumption established by finding 1 that no condition or
   combination of conditions will reasonably assure the appearance of the defendant as required and the
   safety of the community or any person.
However, I do not rely on the presumption in detaining the defendant. I find that the defendant poses a
  danger to the community, specifically to minors, and that no condition or combination of conditions
  will reasonably assure the safety of the community.
                                          Alternative Findings
☐ (1) There is a serious risk that the defendant will flee; no condition or combination of conditions will
  reasonably assure the appearance of the defendant as required.
☒ (2) No condition or combination of conditions will reasonably assure the safety of others and the
   community.
              Case 2:25-mj-05021-DMF         Document 9       Filed 01/15/25    Page 2 of 3

 USA v. Liam Gavan Wallace                                                       Case Number: 25-5021MJ
JANUARY 14, 2025                                                                             Page 2 of 3

☐ (3) There is a serious risk that the defendant will obstruct or attempt to obstruct justice; or threaten,
  injure, or intimidate a prospective witness or juror.
☐ (4)

             PART II – WRITTEN STATEMENT OF REASONS FOR DETENTION
                                 (Check as applicable.)
☒ (1) I find that the credible testimony and information submitted at the hearing establishes by clear and
   convincing evidence as to danger that: the nature of the instant offense involving a minor victim and
   multiple instances of taking the minor victim out of state, the defendant’s false statement to the minor
   victim’s mother that defendant was the father of the minor victim’s boyfriend, use of technology to
   facilitate the offense via an internet teenage chat room, allegations relating to other conduct involving
   the transportation of juveniles into Arizona from another state.

☒ (2) I find by a preponderance of the evidence as to risk of flight that:
       ☐ The defendant has no significant contacts in the District of Arizona.
       ☐ The defendant has insufficient resources in the United States from which he/she might make
         a bond reasonably calculated to assure his/her future appearance.
       ☐ The defendant has a prior criminal history.
       ☐ There is a record of prior failure(s) to appear in court as ordered.
       ☐ The defendant attempted to evade law enforcement contact by fleeing from law enforcement.
       ☐ The defendant has a history of substance abuse.

       ☒ The defendant is facing ten years minimum incarceration and a maximum incarceration of life.

       ☐ The defendant has ties to a foreign country.
       ☐ The defendant has used aliases or multiple dates of birth or false identifying information.
       ☐ The defendant was on probation, parole, or supervised release at the time of the alleged
         offense.
       ☒ In addition: The defendant’s repeated false statements to others and to law enforcement
          relating to substantive matters.
☒ (3) The defendant does not dispute the information contained in the Pretrial Services Report, except:

   The date of the defendant’s juvenile offense is corrected to reflect December 1, 2014.
☒ (4) The weight of the evidence against the defendant is great.

   As detailed in the affidavit supporting the complaint in this case, the evidence of guilt is strong.

   The Court incorporates by reference the findings in the Pretrial Services Report which were reviewed
               Case 2:25-mj-05021-DMF         Document 9     Filed 01/15/25     Page 3 of 3

 USA v. Liam Gavan Wallace                                                      Case Number: 25-5021MJ
JANUARY 14, 2025                                                                            Page 3 of 3
by the Court at the time of the hearing in this matter.

                      PART III – DIRECTIONS REGARDING DETENTION
    The defendant is committed to the custody of the Attorney General or his/her designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded
a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility
shall deliver the defendant to the United States Marshal for the purpose of an appearance in connection
with a court proceeding.
                      PART IV – APPEALS AND THIRD-PARTY RELEASE
    IT IS ORDERED that should an appeal of this detention order be filed with the District Court; it is
counsel's responsibility to deliver a copy of the motion for review/reconsideration to Pretrial Services at
least one day prior to the hearing set before the District Court.
   IT IS FURTHER ORDERED that if a release to a third party is to be considered, it is counsel's
responsibility to notify Pretrial Services sufficiently in advance of the hearing before the Court to allow
Pretrial Services an opportunity to interview and investigate the potential third party custodian.
   Dated this 15th day of January, 2025.
